gS. DISTRICT COURT

UNITED STATES DISTRICT CouRT © ASTERR D [STRICT “Wi

EASTERN DISTRICT OF WISCONSIN
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UNITED STATES OF AMERICA, CLERK OF COURT

Plaintiff,

Vv. Case No. i

[18 U.S.C. §§ 922(g)(1) & 924(a)(2)]

 

TOMMIE COLE,

Defendant.

 

INDICTMENT

 

THE GRAND JURY CHARGES THAT:

1. On or about January 23, 2021, in the State and Eastern District of Wisconsin,

TOMMIE COLE,
knowing he previously had been convicted of a crime punishable by imprisonment for a term
exceeding one year, knowingly possessed a firearm which, prior to his possession of it, had been
transported in interstate commerce, the possession of which was therefore in and affecting
commerce.
2. The firearm is more fully described as a silver Smith and Wesson SD40 VE

handgun.

All in violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

Case 2:21-cr-00033-LA Filed 02/09/21 Page 1of2 Document 1
FORFEITURE NOTICE
Upon conviction of the offense in violation of Title 18, United States Code, Section
922(g)(1) as set forth in this Indictment, the defendant, Tommie Cole, shall forfeit to the
United States pursuant to Title 18, United States Code, Section 924(d) and Title 28,
United States Code, Section 2461(c), any firearms and ammunition involved in the
knowing violation of Section 922(g)(1), including, but not limited to: a silver Smith and

Wesson SD40 VE handgun.

 

 

MATTHEW D. KRUEGER
United States Attorney

Case 2:21-cr-00033-LA Filed 02/09/21 Page 2o0f2 Document 1
